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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

             v.                                 21-CR-570 APM

LANDON COPELAND



         CONSENT MOTION FOR CONTINUANCE OF SENTENCE

        Counsel for defendant Landon Copeland, with the consent of the
Government, moves for a Continuance of Sentence now scheduled for
September 9th, 2022 for sixty days. The defendant requests additional time
to permit an in Utah to complete a forensic evaluation of him for use in
mitigation of sentence. The Government is available in December as is
counsel for the Defendant.


        WHEREFORE we respectfully request a continuance of Sentence and
waive any Speedy Sentencing argument to allow an expert adequate time
to complete a forensic evaluation of Mr. Copeland who is incarcerated in
Utah.
                                          Respectfully submitted,

                                    ___________/s/_______________
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